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                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ARIZONA
                            PHOENIX DIVISION


United States of America       :             No.: CR-23-00680-PHX-DJH
            Plaintiff,         :
                               :
v.                             :             DEFENDANT JORDAN PERSAD’S
                               :             SENTENCING MEMORANDUM
                               :
JORDAN PERSAD                  :
          Defendant,           :
______________________________ :

                                    Introduction

      On Monday, October 23, 2023 at 3:00 pm, the Defendant, Jordan Persad,

will stand in judgment before this Honorable Court for those crimes he committed

- and for those crimes he accepted full responsibility for committing. The

Defendant nor his counsel will minimize the negative effect the Defendant’s

criminal conduct has had and will continue to have upon his victims, this

Honorable Court, the government, various state and federal law enforcement

agencies throughout the country, his family, his friends, and himself.
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      The larger question, as it is in all of these types of cases, is why? Why

commit a crime and end up in a foreign country thousands of miles away from

your home for something so obviously morally and lawfully wrong? And why do

it, when everyone else who commits similar criminal conduct is eventually arrested

and prosecuted? Most of the time, if not all of the time, the answer is very simple -

greed. And while there is certainly on the surface elements of greed in this case,

the Defendant will in this memorandum urge this Honorable Court to delve a bit

deeper beneath the surface. It is there, beneath the basic human frailty of

indulgence, that lays another layer of truth.

      However, before this occurs, it must be stated firstly that this additional

layer of truth does not exonerate Defendant. It simply better helps to understand

him. It is our goal in this sentencing submission to assist this Honorable Court in

fully assessing the Defendant as a whole, not just his criminal conduct, so that it

may reach a sentence that is sufficient but not greater than necessary under law.

I.    Presentence Investigation Report

      Undersigned counsel and the Defendant have no objections to the factual

accuracy of the pre-sentence investigation report.

      Undersigned counsel and the Defendant have no objections to the legal

accuracy of the pre-sentence investigation report.




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II.      Sentencing Process

         In order to arrive at a sentence that is sufficient but not greater than

necessary, and to comply with the purposes set forth in paragraph two of Title 18

United States Code Section 3553(a), the Defendant understands this Honorable

Court will first calculate the Defendant’s federal sentencing guideline sentence

range, next consider any departures based on the criteria set forth in the federal

sentencing guidelines from Sections 5K1.1 to 5K3.1, and, finally, consider whether

the sentence imposed should be different from either the federal sentencing

guideline sentence or the departure sentence (if any), after considering the factors

set forth in 18 United States Code Section 3553(a).

      • As stated above, the advisory federal sentencing guideline range as

         calculated by United States Probation is accurate.

      • The parties do not expect any departures in the federal sentencing guidelines

         resulting from Sections 5K1.1 to 5K3.1 at sentencing.

      • In this submission, the Defendant posits there is a basis for a downward

         variance.

         An analysis of why there is a basis for a downward variance is set forth

below in the next section of this sentencing submission and in open court based

upon both defense and government filings.




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III.   Downward Variance Analysis

       There is no doubt the Defendant committed the crimes charged. Immediately

after his residence was searched in the Orlando Division of the Middle District of

Florida, and before he could even be indicted in the District of Arizona, the

Defendant waived his right to be indicted by a grand jury and instead timely pled

guilty to an information and to a government sponsored plea agreement.

       And the Defendant did his level best to right his wrongs prior to his

sentencing before this Honorable Court. The Defendant knows, and most

importantly accepts, that now is the time that he must be punished for his criminal

actions. But as this Honorable Court certainly knows better than anyone, a federal

sentencing is not designed to punish alone. If so, there would be no need for a

presentence investigation report, sentencing submissions by the parties and a

sentencing hearing.

A.     All of the Defendant’s Criminal Conducted is Accounted for Under the

       Advisory Federal Sentencing Guidelines

       As stated above, the Defendant’s criminal conduct is accurately addressed

by the advisory federal sentencing guidelines. The advisory federal sentencing

guideline imprisonment range is correct. This range however is the starting point,

not the ending point, because there are other sentencing factors that must be

considered by law.



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      The Title 18 United States Code Section 3553(a) factors a sentencing judge

must take into equal consideration to the federal sentencing guidelines are as

follows:

   • The nature and circumstances of the offense and the history and
     characteristics of the defendant; 18 United States Code Section 3553(a)(1)

   • The need for the sentence imposed; 18 United States Code Section
     3553(a)(2):

           § to reflect the seriousness of the offense, to promote respect for the
             law, and to provide just punishment for the offense, and
           § to afford adequate deterrence to criminal conduct, and
           § to protect the public from further crimes of the defendant, and
           § to provide the defendant with needed educational or vocational
             training, medical care, or other correctional treatment in the most
             effective manner.

   • The kinds of sentences available; 18 United States Code Section 3553(a)(3)

   • The need to avoid unwarranted disparity among defendants with similar
     records and similar crimes; 18 United States Code Section 3553(a)(6)

   • The need to provide restitution to any victims of the offense. 18 United
     States Code Section 3553(a)(7)

      Prior to the United States Supreme Court decisions in United States v.

Booker, 543 U.S. 220, 245-67 (2005), Rita v. United States, 127 S.Ct. 2456 (2007),

Kimbrough v. United States, 128 S.Ct. 558 (2007), and Gall v. United States, 552

U.S. 38, 53 (2007), the federal sentencing guidelines were mandatory, not

advisory, on a federal sentencing judge. As we all know, as a result of the above




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cases, the federal sentencing guidelines are now advisory in nature and equal in

weight to the Title 18 United States Code 3553(a) factors.

      Undersigned counsel is well aware this Honorable Court is well-versed in

this area of the law and will now move forward in this sentencing memorandum

(with such an understanding) to an application of fact and law analysis as a result.

B.    None of the Defendant’s Mitigation is Accounted for Under the Advisory

      Federal Sentencing Guidelines

      At the start of this sentencing submission there was some discussion of why

the Defendant did what he did - and a promise to explore what triggered his

unexpected criminal conduct at the young age of 17 and 18 years old. Did his

criminal conduct the sole result of pure greed like so many others prosecuted by

the government, defended by defense attorneys, and sentenced by district court

judges like this Honorable Court?

      No. At least not entirely. Please allow me to introduce you to Jordan Dave

Persad.

                                Personal and Family

      Jordan Dave Persad was born on November 17, 2002, at Jamaica Hospital in

Queens, New York. He is the son of Dave Persad and Michelle Ramrattan, who

were never married. Michelle had changed her first name from Ranchan to

Michelle when she moved from Trinidad to the United States of America.



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      Until his early teenage years, Jordan lived in a seemingly happy household

with Dave and Michelle, his three siblings, and his two maternal half-brothers.

While the family members were relatively happy, they lived under somewhat

austere circumstances. Their home was a two-bedroom roach-infested apartment in

a low socioeconomic neighborhood. The trappings of poverty were all around

them, but they stayed safe by avoiding homeless wanderers and people who had ill

will. Neighborhood bullies and “wannabe gangsters” would harass Jordan daily.

But Jordan had family members nearby, and he visited them to stay away from the

negative influences.

      One positive aspect of life in New York was the closeness of his neighbors.

Everyone knew each other and watched out for each other. Some neighbors were

so close that they could walk into each other’s apartments without knocking. When

he was 11 or 12 years old, Jordan was a bit “chubby,” and his fellow students at

school teased him. He became obsessed with weight loss, and he refused to eat and

did sits ups every day to “get skinny.” It worked. Jordan lost his excess weight.

      When Jordan was 12 or 13 years old, his parents suddenly separated, and

Michelle moved to Pennsylvania to live with her new boyfriend, Justin, whom she

had met on a game called World of Warcraft. After the separation, everything for

Jordan was “weird” and “off” for a while. He had not seen the breakup coming

because he was always on his computer. His father Dave became severely



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depressed. He stopped working and lost his apartment, so at age 14 or so, Jordan

and his siblings had to move in with Michelle and Justin at the Justin’s father’s

house in Elizabethville, Pennsylvania.

      Jordan got along well with Justin. The two of them shared an intense interest

in gaming, and Justin allowed Jordan to use his gaming computer setup anytime he

wanted. Jordan quickly accepted Justin as a stepfather and Justin’s father as a

grandfather. All seemed well, but a few months later, tragedy struck. Jordan’s new

stepfather hanged himself, due to depression, in the grandfather’s house, and

Michelle found his body. The whole family took the suicide hard. Jordan decided

to continue living with his grandfather, but Michelle and Jordan’s siblings could

not bear to live in the house where the suicide happened. They packed up and

moved from Elizabethville to nearby Halifax, Pennsylvania, where they moved in

with Dave, who by that time had moved there from New York.

      Jordan struggled to deal with Justin’s suicide, wondering if it might have

been his fault. He became very quiet and reclusive, staying in his room on his

computer and shutting himself off from everyone. Jordan had his one and only

brush with juvenile authorities during this time. Jordan met his Justin’s extended

family. They seemed just like family to him, and they were a source of support for

him. Eventually, though, Jordan was unable to continue living with his grandfather




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because of what had happened in the house, so he moved in with the rest of his

family.

      In Halifax, Jordan noticed that it was “weird” for his mother and father to be

together. He sometimes heard them fighting and arguing after they had been

drinking. This would prevent him from sleeping, and he would be up late some

nights just thinking. During this period, Jordan met a group of friends and made

good memories with them. If he felt sad, depressed, or afraid, he took refuge on his

computer, playing games or watching movies.

      When Jordan was almost 16, he, Dave, and his siblings moved to Orlando,

Florida and Michelle stayed behind in Pennsylvania. By the time Jordan was 17,

his mother Michelle joined the family in Orlando. Michelle and Dave seemed to

get along better than they ever had. Michelle told Jordan that they had put away

their differences because they wanted to provide a good and peaceful environment

for their children.

      Through gaming, Jordan met a young man named Jarrod Crass online, and

the two became best friends. Jordan also met a girlfriend, Ruba, who became a

prominent figure in his life. Jordan and Jarrod had big plans of meeting in person

one day, but tragedy struck again: Jarrod and his younger brother died on the same

evening, in the same room, after ingesting fentanyl. When Jordan found out about

Jarrod’s death, he was devastated. He was both sad and angry. But Jordan did not



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seek grief counseling. He shut everyone out and dealt with his friend’s death alone-

- in his head. In fact, Jordan preferred being alone because he believed he could

cope better that way.

      Jordan suffered another personal heartbreak when he was about 18. He and

his girlfriend Ruba broke up, and she moved away to Saudi Arabia. Although the

breakup was mutual, Jordan was devastated. He broke down and cried for two

days, but, again, he did not reach out for help. He handled his loss alone.

      Today, Jordan lives with his parents and siblings in Orlando, Florida. He and

his mother have a close relationship. Jordan can go to her for anything and discuss

anything with her. He loves her very much. Jordan is also close with his father and

his siblings. All of Jordan’s family members are confused over the criminal case

and concerned about the outcome. They are all supportive.

      Jordan’s childhood dream was to be an FBI agent, but now his goal is to get

past his criminal case and earn money so that he can make restitution to his victims

and help make his parent’s lives easier. He wants to set a good example for his

brothers and sisters.

                                      Analysis

      Jordan’s life has been marked by a series of significant challenges,

transitions, and personal losses. His childhood began in less-than-ideal




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circumstances, growing up in a modest apartment in a poor and dangerous area in

New York.

      The separation of his parents when he was around 12 years old and

Michell’s move to Pennsylvania marked a turning point in Jordan’s life. This

change left him feeling disconnected and “weird.” He moved to Pennsylvania to be

with his mother and her new boyfriend, who shared his passion for gaming. This

period appeared to be stable until the tragic suicide of the boyfriend, which deeply

affected Jordan and caused him to become more reclusive.

      Jordan’s subsequent move to Halifax, Pennsylvania and his observations of

his parents’ turbulent relationship further highlighted the instability in his life.

During this time, he relied on gaming and friendships for emotional support.

      Jordan’s move to Orlando, Florida eventually reunited his family, and

Jordan began forming healthier relationships, particularly with his parents.

However, the tragic death of his friend Jarrod, and the loss of his girlfriend when

she moved to Saudi Arabia, left Jordan emotionally scarred. He opted to cope with

these losses by isolating himself and not seeking professional help or support from

his family.

      Today, Jordan strives to overcome his legal troubles and build a more stable

life for himself and his family. He is dedicated to being a support and responsible

family member, taking on the role with a sense of maturity.



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      Jordan’s story reflects a young person who has faced significant adversity,

loss, and trauma, coping with it in his own way, often by withdrawing into his own

world. He has shown resilience in surviving these challenging, but seeking

professional help and emotional support could be beneficial for his continued well-

being and personal growth.

                                     Education

      Jordan attended public schools throughout his early years. He faced a

significant setback when he had to repeat the eighth grade due to poor academic

performance. Despite these academic struggles, Jordan had an ambitious goal: to

become the first person in his family to graduate from high school.

Throughout his school years, Jordan did not particularly enjoy the educational

process and admittedly did not take it as seriously as he should have. He endured

some teasing due to his struggle with his weight, but through his hard work at diet

and exercise, he lost weight and eliminated opportunities for teasing.

      Jordan was quiet and reserved during his high school years, choosing not to

engage in extracurricular activities. This lack of involvement might have

contributed to his disengagement from the school environment and his studies.

      Jordan attended high school through his junior year at Doctor Phillips High

School, but he transferred to Evans High School in Orlando during his junior year

due to a family move. It was during his senior year that he faced a pivotal decision.



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He expressed his desire to withdraw from school, and his father gave this idea his

reluctant blessing, knowing he would likely do it anyway.

      While Jordan chose to leave formal education at this point, it is worth noting

that he has expressed a desire to earn a high school diploma or GED in the future.

This demonstrates that he still holds aspirations for further education and self-

improvement.

                                     Analysis

      Jordan’s educational background illustrates the interplay of personal

motivation, family support, and external circumstances. His initial struggles in

school, marked by repeating the eighth grade, reflect academic challenges that can

often lead to disengagement. His goal of becoming the first graduate in his family

highlights his determination to break the cycle of educational underachievement.

      Jordan’s lack of enthusiasm for school and his quiet demeanor may be

indicative of disconnection from the educational system. But his decision to drop

out, while a significant choice, is not necessarily an endpoint. Jordan’s expressed

desire to obtain a high school diploma or GED in the future demonstrates a

willingness to continue his education, albeit through an alternative path. This

showcases a recognition of the importance of education for personal and

professional growth. Jordan’s current desire for further education underscores the

potential for future educational achievements, even after leaving formal schooling.



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                                    Mental Health

      Jordan’s life has been marked by a series of profoundly challenging and

traumatic events, including the suicide of his stepfather, the loss of a dear friend

due to a drug overdose, and the end of a meaningful relationship. Despite these

traumatic experiences, Jordan has never sought the assistance of a mental health

professional. He has chosen to cope with these emotional wounds independently,

and while he may not display overt symptoms of emotional problems or mental

health issues, it is essential to analyze his mental and emotional health and

consider whether evaluation and treatment might be beneficial.

                                       Analysis

      Jordan’s ability to endure traumatic experiences without professional help is

remarkable, demonstrating inner strength. However, it is crucial to understand that

one’s emotional well-being is a complex matter, and the effects of trauma can

manifest differently in each person.

      The suicide of Jordan’s stepfather is a particularly distressing event that can

have lasting emotional repercussions. It may result in feelings of guilt, confusion,

or sadness. The loss of a close friend and a girlfriend compounds these challenges.

Jordan’s reluctance to seek counseling or treatment might stem from various

factors, including societal stigma, fear of judgment, or a belief in self-reliance.




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      Seeking evaluation and treatment can offer several benefits. A mental health

professional can provide a safe space for Jordan to express his emotions, validate

his experiences, and help him process these traumatic experiences in a health way.

It can also assist in identifying and addressing any potential signs of post-traumatic

stress disorder, depression, or anxiety that might develop over time.

      While Jordan may not exhibit severe mental health issues, his history of

traumatic events suggests that seeking evaluation and treatment could be beneficial

for his long-term emotional well-being. A mental health professional could provide

support, suggest coping strategies, and brokering interventions to help Jordan

thrive after enduring significant trauma.

                                    Sexual Abuse

      During a family visit when Jordan was 10 years old, an older female cousin

who was 15 or 16 years old sexually abused him. The cousin invited Jordan to play

in a bedroom. While the two were on the bed, the cousin would fondle Jordan’s

genitals and then put Jordan’s hand under her panties and insist that he masturbate

her. Jordan was traumatized by the sexual abuse, but he never told his parents or

anyone else.

                                      Analysis

      Experiencing sexual abuse can be profoundly traumatic, especially for a

young personal. It can have long-lasting emotional, psychological, and even



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physical effects. Many survivors, like Jordan, may not immediately disclose their

abuse die to fear, shame, or confusion.

      Jordan likely needs support and understanding and possibly even

professional assistance in processing his childhood sexual abuse. Addressing this

issue in a sensitive and supportive manner is critical.

                                  Substance Abuse

      Jordan’s substance abuse history tells a relatively low-risk story. At 19 years

old, he began experimenting with alcohol. The fact that he never developed a

specific pattern of alcohol use suggests that he did not engage in regular heavy

drinking, which is often an early indicator of problematic alcohol consumption.

Jordan’s alcohol use is moderate and occasional, which is a responsible approach

to drinking. He has not allowed alcohol to become a problem in his life.

      Prior to this case, Jordan used marijuana infrequently to deal with stress and

anxiety. He should be cautious about using marijuana as a coping mechanism and

consider alternative strategies for managing anxiety, such as therapy or relaxation

techniques.A notable positive aspect of Jordan’s history is his lack of experience

with other types of drugs. Avoiding experimentation with other drugs reduces the

risks associated with drug misuse and addiction.




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                                      Analysis

      Thankfully Jordan’s substance abuse history is relatively little. He has

maintained a responsible approach to alcohol use, avoiding addiction. He must

remain aware of the potential pitfalls of using marijuana for anxiety management

and consider alternative strategies to ensure his long-term well-being. An

evaluation may prove useful to identify any potential for substance abuse issues.

                                     Employment

      After withdrawing from high school, Jordan shifted his focus towards

unconventional ways of earning money, primarily in the online world. Jordan

dabbled in various activities, such as gaming and investing, that eventually led to

some profit. These endeavors allowed him to earn a good income, but they also led

him to his current legal troubles.

      While Jordan’s online pursuits provided a source of income, they eventually

landed him in a legal predicament. This predicament has had a significant impact

on his life and employment prospects. More recently, Jordan took a part-time job at

his father’s construction company. This employment served as a welcome shift

from his online activities and was a valuable experience in the traditional

workforce.




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      Jordan is currently unemployed. He has had difficulty securing and

maintaining employment at his father’s work due to problems at home, lack of

transportation, and his current legal case.

                                       Analysis

      Jordan’s aspiration to secure full-time employment is a promising sign of his

determination to address his legal obligations and make restitution. Job placement

assistance, counseling, and addressing his legal situation are essential steps for

Jordan to work towards a more stable future.

IV.   Analysis of United States Probation’s Comments and Recommendations

                                          A.

      United States Probation states, “It is noted the defendant appears to show a

lack of remorse and has stopped working despite knowing restitution would be

necessary to pay back the victims.”

      United States Probation saw what we have saw all along: an immature kid

who has a flat affect and a dry, detached personality. The Defendant does not lack

remorse. He simply does not know how to express it in an adult, pro-social

manner. The Defendant has spent more time on his computer than he has in the

real world. Over the course of our attorney-client representation, the Defendant has

talked ad nauseam about his ‘best friend’. It was not until recently we learned the




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Defendant has never met his ‘best friend’ in person. The Defendant lives in a

virtual world.

      Emoting is not in the Defendant’s repertoire. This is what United States

Probation saw. It is not a lack of remorse. To the contrary, after the Defendant pled

guilty, and met with United States Probation, the Defendant and undersigned

counsel met outside of the federal courthouse while awaiting our respective Ubers

(the Defendant to his hotel and undersigned counsel to the airport). The Defendant

shocked undersigned counsel by suddenly hugging him and thanking undersigned

counsel for caring him for him like he was family. He cried as he explained he has

ruined his life and his family’s life by his selfish and criminal actions. The

Defendant was awkward in his embrace of undersigned counsel, but his emotion

was real.

                                         B.

      United States Probation considered but did not make a recommendation for a

downward departure based on the Defendant’s age.

      While his actions were reprehensible and criminal, it is important to

remember the Defendant was an eighteen year old when this started. And, as

already explained, he was not even a typical eighteen year old kid. The Defendant

lived on his computer, and he simply did not appreciate the world around him in a

way a mature adult would have. On a computer, money just looks like some



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numbers strung together, but in reality, it represents hard work. The Defendant,

while knowing what he was doing was wrong, did not fully appreciate the victims’

struggles, because he was not fully emersed in the real world and not yet a fully

formed, mature adult.

                                          C.

      United States Probation considered a downward variance pursuant to 18

United States Code Section 3553(a) factors, but decided a federal sentencing

guideline sentence is necessary to address the severity of the offense and to deter

others from committing similar crimes.

      There is no doubt the Defendant committed a severe crime. However, he has

no prior record and certainly has never seen a jail cell. He is just over five feet tall

and not even 140 pounds. And he is about to enter a federal prison system where

inmates of his stature could end up a prey, especially inmates of his stature who are

young and immature. A sentence below the guideline range will most certainly

scare the ever living day lights out of the Defendant and impress on him the gravity

of his offense. Federal prison will not help the Defendant mature. Federal prison

will not provide effective correctional treatment. Federal prison is not a panacea. A

very short term of prison followed by intensive community supervision will be

much more effective in this case. The Defendant should not be given up on at this

age and stage in his life.



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V.       Other Mitigating Factors

         Undersigned counsel will address other mitigating factors, sensitive in

nature, at the Defendant’s sentencing.

VI.      Requests for Judicial Recommendations

         The Defendant understands judicial recommendations are just that – mere

judicial recommendations. The Defendant understands there is no guarantee that a

judicial recommendation will result in action. However, relevant law and prison

policy state more weight is given to a judicial recommendation if there is a factual

basis on the record for the judicial recommendation.1 The Defendant therefore

makes the following respectful requests for judicial recommendations and in

support offers a factual basis for each request.

         If    incarcerated,         the      Defendant          respectfully        requests        a     judicial

recommendation of a prison camp and a judicial recommendation of a prison camp

designation at Coleman FPC in Coleman, Florida. As a basis for this request, the

Defendant has family and friends who live in the greater Orlando, Florida area,


1
  The Bureau of Prisons welcomes judicial recommendations and, by statute and its own policy, is required to
consider them. See 18 U.S.C. Section 3621 and Program Statement 5100.08, “Inmate Security Designation and
Custody Classification”. Pursuant to the above statute, the Bureau of Prisons is required to consider the type of
offense, the length of sentence, the defendant's age, the defendant's release residence, the need for medical or other
special treatment, any placement recommendation made by the court, and all guidance issued by the United States
Sentencing Guidelines. Therefore, while the Bureau of Prisons has the sole authority to designate the place of
confinement for federal prisoners, if a defendant’s judgment and conviction indicates the district court’s preference
for housing the inmate within a specific institution, geographic area, or specialized program, it must be considered,
and every effort will be made to fulfill the district court’s recommendation request should there be reasons on the
record to support the request.


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which is a within a half day’s drive of Coleman, Florida. Having contact with

family and friends will help the Defendant positively matriculate through his

federal prison experience.

VII. Sentencing Position

      The issue therefore before this Honorable Court is whether a sentence within

the federal sentencing guideline imprisonment range is sufficient but not greater

than necessary to comply with the law.

      Once this Honorable Court calculates the Defendant’s final offense level

under the advisory federal sentencing guidelines, based on the criteria set forth in

the federal sentencing guidelines from Sections 5K1.1 to 5K3.1, and then considers

whether the sentence imposed should be different from either the federal

sentencing guideline sentence or the departure sentence (if any), and after

considering the factors set forth in 18 United States Code Section 3553(a), the

Defendant respectfully suggests a sentence within the advisory federal sentencing

guideline imprisonment range is not reasonable because it is greater than necessary

to comply with the law.

      A guideline sentence is therefore contrary to the law and should not be

imposed. For the reasons stated in this sentencing memorandum, the Defendant

respectfully requests a sentence of less than the advisory federal sentencing

guideline range to as low as this Honorable Court deems reasonable under the law.



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VIII. Conclusion

      And thus, here we are. The Defendant’s plea has been accepted by this

Honorable Court. Sentencing memorandums have been filed by the parties. The

Defendant now awaits his fate. But it cannot be overstated that from the moment of

his arrest to the present day, the Defendant did what he could to shape his fate in a

positive way. This is exampled by his immediate accepting of responsibility by

pleading guilty to an information and a government sponsored plea agreement and

engaging in other, positive activities that will be addressed by both parties at

sentencing. That being said, there is no doubt the Defendant will be punished.

      The only issue left for this Honorable Court is how and for how long.

      How much time is enough time for a 21-year old man, who was actually a

minor when he began the criminal conduct that led to this case, with no criminal

history and a complex history with his family?

      The Defendant posits not as much as the advisory federal sentencing

guidelines state. The Defendant respectfully requests a downward variance for all

of the mitigation that is not accounted for by the advisory federal sentencing

guidelines.

      Respectfully submitted on October 12, 2023.

                                                    Respectfully submitted,



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                                        By: /s/ Mark J. O'Brien
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY on October 12, 2023 I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will

then send notice of electronic filing to all counsel of record.

                                                      By: /s/ Mark J. O'Brien
                                                      Mark J. O'Brien, Esquire




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